Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 1 of 55




                 Exhibit E
       Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 2 of 55




                    Plaintiffs’ Position Statement on Evidentiary Disputes

I.     Defendants’ Relevance Objections to Plaintiffs’ Exhibits

       Through shotgun-style relevance objections to more than 100 exhibits, Defendants seek

to shield from the record American’s long history of attempts to consolidate the airline industry

through acquisitions and partnerships—and JetBlue’s equally long history of criticizing those

efforts—as well as other core aspects of this case. These objections implicate some of

Defendants’ key business documents over the course of several years, which they now seek to

exclude from playing any role in this case. Defendants’ myopic view of relevance runs afoul of

First Circuit law. Below, Plaintiffs address four categories of exhibits, concerning: (1) capacity

discipline and industry coordination; (2) airline partnerships; (3) competition between

Defendants before they formed the Northeast Alliance (“NEA”); and (4) the impact of low-cost

carriers (“LCCs”) and the JetBlue Effect. Each category provides relevant information on the

disputes at issue. Plaintiffs respectfully request that the Court overrule these objections.

       A.      Legal Standard for Relevance

       Just two months ago, the First Circuit reiterated the well-established rule that “Rule 401

‘set[s] a very low bar for relevance.’” Gonpo v. Sonam’s Stonewalls & Art, LLC, 41 F.4th 1, 14

(1st Cir. 2022) (alteration in original). Evidence clears this “very low bar” if it “‘move[s] the

inquiry forward to some degree’ on a fact of consequence,” determined “in light of the

underlying substantive law,” Franchina v. City of Providence, 881 F.3d 32, 49 (1st Cir. 2018)

(describing relevance objections as a “rather tough sell”). Such principles carry even greater

force in a bench trial, where the Court can give evidence its due weight. See, e.g., De La Rosa v.

650 Sixth Ave Trevi LLC, 2019 WL 6245408, at *4 (S.D.N.Y. Nov. 22, 2019) (“[C]ourts often

apply the relevance standard with little rigor during a bench trial.”). Here, Defendants’ relevance



                                                  1
        Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 3 of 55




objections are a baseless proxy fight over the weight of the evidence.

        B.       Capacity Discipline and Industry Coordination

        The exhibits that Defendants seek to prevent the Court from considering paint a picture of

the relationship between airfares, the number of seats airlines fly, and industry consolidation

over time. Industry participants, led by American’s current executives, keenly understand the

tight relationship between capacity, measured by available seats per mile, and pricing—more

capacity equals lower prices. See, e.g., PX0344, at -1121 (Derek Kerr, current American CFO:

“Capacity discipline . . . has been the major thing why . . . we have been able to increase

[revenue per unit of capacity] over time.”); PX0015, at -460 (U.S. Airways presentation quoting

analyst statement that American’s “plan to grow 20% over 5 years is toxic to industry pricing”).

Legacy mergers have enabled these airlines to collectively restrain capacity growth—efforts that

airline executives and industry analysts described as “capacity discipline.” PX0012, at -024

(American presentation: “The industry has shown capacity discipline due to consolidation and

fuel price volatility.”). As Doug Parker, American’s recently retired CEO and current Chairman

of the Board, warned American’s board of directors in 2015, “[C]apacity coming on in excess of

demand leads to lower prices . . . .” PX0039, at -639.

        Defendants seek to exclude these statements because they predate the NEA.2 At trial,

Defendants can argue that they have changed their ways, but these exhibits are plainly relevant.

First, evidence of the airline industry’s susceptibility to coordination implicates the risk the NEA

creates for future coordination. See, e.g., FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26, 60

(D.D.C. 2009) (“Whether a merger will make coordinated interaction more likely depends ‘on


1
 The Appendix contains exhibit excerpts in order of appearance. Pincites refer to the Bates stamp on the cited page.
2
 Defendants have not indicated on what specific date they contend relevance rises or falls. Regardless, antitrust
analysis is flexible and not so limited. See, e.g., United States v. H&R Block, Inc., 833 F. Supp. 2d 36, 78 (D.D.C.
2011) (as to coordinated effects, pointing to “highly persuasive historical act” from 6-8 years before the merger).

                                                         2
       Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 4 of 55




whether market conditions, on the whole, are conducive to reaching terms of coordination and

detecting and punishing deviations from those terms.’”). Second, a trend towards concentration

is relevant to the assessment of the anticompetitive consequences of industry participants’

conduct. Brown Shoe Co. v. United States, 370 U.S. 294, 332 (1962). Finally, intent evidence

reveals the conduct’s likely consequences and belies Defendants’ purported procompetitive

justifications. See, e.g., Chi. Bd. of Trade v. United States, 246 U.S. 231, 238 (1918)

(“[K]nowledge of intent may help the court to interpret facts and predict consequences.”). Each

of these bases supports admission of Plaintiffs’ exhibits.

       C.      Airline Partnerships

       American and JetBlue have previously acknowledged the unprecedented nature and

anticompetitive effects of an agreement with features like the NEA’s. Several exhibits to which

Defendants now object on relevance grounds contain their recent analyses on the potential

impact of such agreements. For example, in 2018, American told the United States Department

of Transportation that “[n]o airline has engaged in a revenue-pooling JBA [Joint Business

Agreement] with a partner airline that operates overlapping services”—as American and JetBlue

now propose—absent a grant of antitrust immunity because of the “significant risk of antitrust

litigation.” PX0277, at -574. That same year, JetBlue’s CEO Robin Hayes explained another

airline would not partner with JetBlue due to fears of retaliation from American, PX0718, at

-099—accommodating behavior Plaintiffs have alleged would result from the NEA. This

evidence informs the NEA’s likely anticompetitive consequences, an element of Plaintiffs’ case.

       D.      Pre-NEA Competition

       Several exhibits to which Defendants object illustrate their competition pre-NEA. Yet

Defendants speciously contend that such evidence of competition on routes subject to the NEA is



                                                 3
       Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 5 of 55




irrelevant to whether the NEA eliminates competition, when their own documents show them,

among other things, responding to each other’s aggressive discounts to win market share. See

PX0678, at -595 (discussion of head-to-head bidding related to a corporate customer). The

apparent basis for their position is that such evidence dates to early 2018—even though it

concerns future business and occurred just two years before the NEA was signed. Defendants’

arbitrary line conflicts with antitrust precedent. See United States v. Anthem, Inc., 236 F. Supp.

3d 171, 216 (D.D.C. 2017) (“Relevant evidence of a merger’s potential unilateral effects include

. . . the history of head-to-head competition between the two merging parties.”); id. at 216–18

(analyzing evidence from 5-6 years before proposed merger). In addition, the COVID-19

pandemic interrupted normal competitive dynamics in 2020; sustaining Defendants’ objection

would restrict evidence of competition to a single year prior to the pandemic.

       E.      LCC Competition and the JetBlue Effect

       Defendants object to exhibits with statements about the importance of competition from

LCCs, and from JetBlue in particular. PX0422, at -464 (LCCs are the “primary determinant of

prices in the U.S. domestic airline industry.”); PX0716, at -058 (showing JetBlue has more “core

amenities” than other LCCs, including Southwest). Such evidence is relevant because

“elimination of a particularly aggressive competitor,” like JetBlue, increases the likelihood of

anticompetitive effects. United States v. Aetna Inc., 240 F. Supp. 3d 1, 43 (D.D.C. 2017).

II.    Defendants’ Authenticity Objections to Plaintiffs’ Exhibits

       In discovery, Defendants demanded that Plaintiffs search their files and produce

thousands of documents from prior investigations relating to airlines—which Defendants

themselves identified. These included documents that American (or its predecessor, U.S.

Airways) had produced in prior investigations. See, e.g., PX0912 (email thread and attachment



                                                 4
       Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 6 of 55




between American executives from December 2012); PX0011 (email thread involving Doug

Parker discussing airline slots at Reagan National Airport). All of these documents came from

files compiled by Plaintiffs in their investigative capacities, and almost all were produced by

American or other airlines in response to compulsory or voluntary process. Unsurprisingly,

documents from these very same investigations also appear on Defendants’ exhibit list.

       What is surprising, however, is that Defendants now seek to exclude 39 such exhibits on

Plaintiffs’ list on authenticity grounds, even though “[t]he burden imposed by Rule 901 is a

relatively modest one.” Echavarria v. Roach, 2022 WL 1473604, at *6 (D. Mass. May 10, 2022)

(“The proponent need only ‘produce evidence sufficient to support a finding that the item is what

the proponent claims it is.’”). Plaintiffs easily satisfy this “modest” requirement.

       First, these documents were produced originally, and have been reproduced, with Bates

labels from the original producing party, which “permit[s] the court to authenticate under Federal

Rule of Evidence Rule 901(b)(4).” Young v. Cate, 2013 WL 684450, at *3 (E.D. Cal. Feb. 22,

2013). This includes 20 exhibits produced from Defendants’ own files in prior investigations and

a further 16 obtained by Plaintiffs in response to compulsory or voluntary process. Indeed,

Plaintiffs produced in this litigation the original letters from Defendants showing that Defendants

produced to DOJ the very same documents that they now challenge on authenticity grounds. See,

e.g., AA-AAUS-00000299 (May 7, 2013 letter from U.S. Airways, covering production of the

Bates range including PX0010). Second, objections to three exhibits involving communications

from senior American executives who will testify at trial can be dismissed because the witnesses

have “knowledge” that the “item is what it is claimed to be.” See Fed. R. Evid. 901(b)(1);

(PX0008, PX0011, PX0012). In sum, more than sufficient evidence establishes that the exhibits

to which Defendants object are what Plaintiffs claim them to be. Fed. R. Civ. P. 901(a).



                                                  5
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 7 of 55




                 Appendix
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 8 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 9 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 10 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 11 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 12 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 13 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 14 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 15 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 16 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 17 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 18 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 19 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 20 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 21 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 22 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 23 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 24 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 25 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 26 of 55




                   PX0718
 Leave to File Under Seal Requested
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 27 of 55




                   PX0678
 Leave to File Under Seal Requested
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 28 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 29 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 30 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 31 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 32 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 33 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 34 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 35 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 36 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 37 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 38 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 39 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 40 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 41 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 42 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 43 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 44 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 45 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 46 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 47 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 48 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 49 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 50 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 51 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 52 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 53 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 54 of 55
Case 1:21-cv-11558-LTS Document 157-5 Filed 09/09/22 Page 55 of 55
